Case 3:16-cv-01224-BJD-JBT Document 23 Filed 12/01/16 Page 1 of 2 PagelD 396

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

STEPHEN BUSHANSKY, On Behalf of
Himself and All Others Similarly
Situated,
Plaintiff,
Vv. Case No. 3:16-cv-1224-J-39JBT
EVERBANK FINANCIAL CORP.., et al.,

Defendants.
/

ORDER OF DISMISSAL‘
THIS CAUSE is before the Court on Plaintiff's Notice of Voluntary Dismissal with

Prejudice (Doc. 21; Notice). Plaintiff's Notice was self-executing and effective upon filing
because Defendants had not yet answered the Complaint (Doc. 1) or moved for

summary judgment. See Matthews v. Gaither, 902 F.2d 877, 880 (11th Cir. 1990) (citing

 

Fed. R. Civ. P. 41(a)(1)(A)(i)).. Accordingly, Plaintiffs case against Defendants is
dismissed with prejudice.”

as
DONE and ORDERED in Jacksonville, Florida this 20 “day of November,

2016. Brno) Qn

BRIAN J. DAVIS
United States District Judge

 

 

1 This Order vacates and supersedes the Court’s November 29, 2016 Order.
2 This file shall remain closed.
Case 3:16-cv-01224-BJD-JBT Document 23 Filed 12/01/16 Page 2 of 2 PagelD 397

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Copies furnished to:

Counsel of Record
